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                       EXHIBIT 8
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                                                                                                                 USOO7490 155B1


(12) United States Patent                                                                     (10) Patent No.:                  US 7.490,155 B1
       Slowiak et al.                                                                         (45) Date of Patent:                      Feb. 10, 2009
(54) MANAGEMENT AND CONTROL FOR                                                             2005/0033684 A1* 2/2005 Benedyket al................ 705/39
        INTERACTIVE MEDIA SESSIONS
                                                                                                              OTHER PUBLICATIONS
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                     Tripathi, Lake Zurich, IL (US); Michael                               neering Task Force, (“IETF), Request for Comments (“RFC) RFC
                     Dempsey, Park Ridge, IL (US)                                          1889, “RTP: A Transport Protocol for Real-Time Applications', Jan.
                                                                                           1996, Entire document.
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               (US)
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(*) Notice:          Subject to any disclaimer, the term of this                           (74) Attorney, Agent, or Firm McDonnell Boehnen Hulbert
                     patent is extended or adjusted under 35                               & Berghoff LLP
                     U.S.C. 154(b) by 964 days.
                                                                                           (57)                       ABSTRACT
(21) Appl. No.: 10/389,518
                                                                                           A method for management and control of a media session.
(22) Filed:          Mar 13, 2003                                                          The method comprises receiving a first message from an end
                                                                                           user device at an application server to initiate a media session
(51) Int. Cl.                                                                              and forwarding the first message from the application server
        G06F 3/00                (2006.01)                                                 to a media server. A first media transaction between the media
(52) U.S. Cl. ....................................... 709/227; 709/237                     server and the end user device is then conducted. The method
(58) Field of Classification Search ................. 709/227,                             further comprises, receiving a second message from the
                                                                              709/237      media server at the application server to indicate that the first
        See application file for complete search history.                                  media transaction is complete. The method still further com
(56)                    References Cited
                                                                                           prises transmitting a third message from the application
                                                                                           server to the media server to initiate a second media transac
                 U.S. PATENT DOCUMENTS                                                     tion and conducting the second media transaction. After the
                                                                                           second media transaction is complete, the method comprises
       6,625,141 B1* 9/2003 Glitho et al. ................ 370,352                         and receiving a fourth message from the media server at the
       7,200,139 B1 * 4/2007 Chu et al. ................... 370,352                        application server indicating that the second media transac
       7,266,593 B2 * 9/2007 Faccinet al. ................ TO9.220                         tion is complete.
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                                                                                                             22 Claims, 4 Drawing Sheets
                                                                                                       200
                                                                                    205
                                                    RECEIVEFIrSt MESSAGAAPPLICATION
                                                SERVERTONCATTATMEDIASESSIONISDESIRED
                                                                                    21 O
                                                   FORWARD FRSMSSAGETO MedIASERVER
                                                                                    21 5
                                                      EXECUTE FIRST ACKNOWLEDGMENT
                                                              SEQUENCETO ESTABLISHMEDASESSION
                                                                                                               22 O
                                                         CONDUCTFIRSMEDIASTREAMTRANSACTION
                                                                                              225
                                                 RECEIVE SECONOMESSAGEATAPPLICATONSERVERO
                                                INDICATE FIRST MEDASTREAMTRANSACTIONS COMPLETE
                                                                                                               23O
                                                       RANSMTRD MESSAGE TO MEASERVER
                                                    TO INTIATSECONMEDIASTREAMTRANSACTION
                                                                                                               235
                                                          EXECUTE ACKNOWLEGMENTSECUENCETO
                                                         NTAESECONOMEDASTREAMRANSACON
                                                                                                               24O
                                                     CONDUCTSECONMEASTREAMTRANSACTION
                                                                                                               245
                                               RCEWEFOURHMESSAGEAAPPLICATION SERVERO INDICATE
                                                 THATSECONMEDIAS REAMTRANSACTIONS COMPETE
                                                                                           25 O
                                                    TRANSMFFHMESSAGEOMEDIASERVER
                                                     AND SIXTHMESSAGETONUSERDEVICE
                                                                                                               255
                                                                  CLOSING MEASESSIONNRESPONSE
                                                                     TO FIFTHAN SEXHMESSAGES
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                                                                      PACKET
                           SWITCHED                                  SWITCHED
                           NETWORK                                   NETWORK




                                      TRANSPORT
                                       NETWORK
                                 (E.G. PSTN, MSC)




      "INVITE' (CREATE SESSION)
               (       313
                              )              "NOTIFY ((MEDATRANSACTION
                                                          COMPLETE)
         5NSA oN-315||o MEDIATRANSACTION RESULTS
                                            31
      oIPADDRESS/317                                                          3
      e PARAMETER CHANGE/319                                -320
                                                                   321
                                     "200"      (ACKNOWLEDGE)
                               O PARAMETER SELECTION
                                                  323

                                331
       "ACK    (ACKNOWLEDGE)                                               -350
      a "FORCED" PARAMETERS                                                       351
                              333                  "BYE'    (CLOSE SESSION)
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      Fig. 2                                           -200      205
               RECEIVE FIRST MESSAGE AT APPLICATION
          SERVER TO INDICATE THAT MEDIA SESSION IS DESIRED
                                                                 210
               FORWARD FIRST MESSAGE TO MEDIASERVER
                                                                 215
                    EXECUTE FIRST ACKNOWLEDGMENT
                 SEOUENCE TO ESTABLISH MEDIA SESSION
                                                                 220
              CONDUCT FIRST MEDIA STREAMTRANSACTION
                                                                 225
            RECEIVE SECOND MESSAGEAT APPLICATION SERVERTO
           INDICATE FIRST MEDIASTREAMTRANSACTION IS COMPLETE
                                                                 230
              TRANSMIT THIRD MESSAGE TO MEDIASERVER
            TO INITIATE SECOND MEDIA STREAM TRANSACTION
                                                                 235
               EXECUTE ACKNOWLEDGMENT SEOUENCE TO
              INITIATE SECOND MEDIASTREAM TRANSACTION
                                                                 240
             CONDUCT SECOND MEDIA STREAM TRANSACTION
                                                                 245
         RECEIVE FOURTH MESSAGEAT APPLICATION SERVERTO INDICATE
            THAT SECOND MEDIASTREAMTRANSACTION IS COMPLETE
                                                                 250
               TRANSMIT FIFTH MESSAGE TO MEDIASERVER
                AND SIXTH MESSAGE TO ENDUSER DEVICE
                                                                 25 5
                  CLOSING MEDIA SESSION IN RESPONSE
                     TO FIFTHAND SIXTH MESSAGES
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    Fig. 4A                                             400
        TRANSMIT FIRST SPINVITE COMMAND TO APPLICATION
                 SERVER (AS) TO INITIATE RTP SESSION
                                                                  410
       ASFORWARDS FIRST INVITE TO APPROPRIATEMEDIASERVER (MS)
                                                                  415
         'MS' SENDS FIRST SIP 200' ACKNOWLEDGE COMMAND
         TO AS TO ACKNOWLEDGE RECEPT OF FIRST INVITE
                                                                  420
                'MS' FORWARDS FIRST 200' TO END USER
                                                                  425
             END USER SENDS FIRST SIPACKACKNOWLEDGE
         COMMAND TO AS TO ACKNOWLEDGE RECEPT OF FIRST 200'
                                                                  430
                   AS' FORWARDS FIRST ACK TO 'MS'
                                                                  435
           MS EXECUTES FIRST MEDIA STREAM INTERACTION
           WITH THE END USERVIAAS USING RTP SESSION
                                                          440
      'MS' SENDS FIRST SIP "NOTIFY COMMAND TO AS TO INDICATE
           COMPLETION OF FIRST MEDIASTREAM INTERACTION
                                                                  445
                  AS' SENDS SECOND2OO'TO'MS' TO
               ACKNOWLEDGE RECEPT OF FIRST NOTIFY'
                                                                  45O
             AS' SENDS SECOND INVITE TO MS TO INITIATE
                 SECOND MEDIA STREAM INTERACTION

                                     TO FIG 4B
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   Fig. 4B                      FROM FIG 4A
                                                                   455
                'MS' SENDS THIRD 200' TO AS' TO
            ACKNOWLEDGE RECEPT OF SECOND INVITE
                                                                   460
                AS' SENDS SECOND ACK TO MS TO
               ACKNOWLEDGE RECEPT OF THIRD 200'
                                                                   465
        'MS'EXECUTES SECOND MEDIA STREAM INTERACTION
          WITH THE END USERVIAAS USING RTP SESSION
                                                                  470
         'MS' SENDS SECOND NOTIFY TO AS TO INDICATE
       COMPLETION OF SECOND MEDIASTREAM INTERACTION
                                                                  475
                 AS' SENDS THIRD 200 TO'MS' TO
            ACKNOWLEDGE RECEPT OF SECOND NOTIFY'
                                                                  480
                 ASSENDS FIRST SIP BYE COMMAND
                  TO MS TO END SESSION WITH 'MS'
                                                                  485
         'MS' SENDS FOURTH2OO TO AS TO ACKNOWLEDGE
         RECEPT OF FIRST "BYE AND END SESSION WITH AS'
                                                                  490
                AS' SENDS SECOND BYE TO END USER
                  TO END SESSION WITH ENDUSER
                                                                  495
         END USER SENDS FIFTH 200' TO ACKNOWLEDGE
       RECEPT OF SECOND BYE AND END SESSION WITH AS'
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                                                    US 7,490,155 B1
                              1.                                                                 2
        MANAGEMENT AND CONTROL FOR                                   If, for example, the end user desires to transfer money from
         INTERACTIVE MEDA SESSIONS                                one account to another (e.g. conduct another media transac
                                                                  tion), a second media session is then opened in the same
           BACKGROUND OF THE INVENTION                            fashion as described above. Such an approach has certain
                                                                  disadvantages. For example, because a new media session is
   1. Field of the Invention                                      established for each transaction, the end user may experience
   The present invention relates generally to methods and skipping or clipping in the media streams that are part of the
apparatus for controlling communications network based transactions due to the need to renegotiate communications
media sessions and, more particularly, to management and parameters for each transaction. Also, the user may experi
control of interactive media sessions.                         10 ence inconsistent quality of service. Such inconsistent quality
   2. Description of Related Art                                  of service results from the fact that the same logical and/or
   Management and control of an interactive media session physical communication path would typically not be used for
conducted in a communications network, such as an Internet        Subsequent transactions. In this respect, different physical
Protocol (IP) based media session, may be accomplished devices (such as physical network connections) may be used
using various known protocols and techniques. These tech- 15 for each different media transaction, thus resulting in poten
niques include communicating voice, data and tones over a tially differing quality of service for each media transaction.
packet Switched network, Such as the Internet, using any Such disadvantages may result in the user having to repeat
number of packet based communication approaches (e.g., one or more transactions due to media information being lost
transmission-control protocol/Internet Protocol (TCP/IP)). due to Such clipping, skipping or inconsistent quality of Ser
In Such approaches, audio information (e.g. Voice and tones) 20 vice. Based on the foregoing, alternative approaches forman
is typically communicated using known voice over IP (VoIP) aging and/or controlling interactive media sessions are desir
approaches, which typically communicate audio information able.
in a digital, compressed format using a packet Switched net
work communication protocol. Such techniques may be used,                       SUMMARY OF THE INVENTION
for example, by Internet telephony applications or by inter- 25
active-voice-response units (IVRUs). Such as Voice-mail              In a first embodiment of a method for controlling a media
SWCS.                                                             session, an application server receives a first message from an
   Such techniques may be employed to execute various end user device. The first message is then forwarded from the
media transactions, such as retrieving Voice mail messages, application server to a media server. As a result of this first
conducting banking transactions, making airline flight reser- 30 message, an interactive media session is established between
Vations, etc. Such transactions may be carried out over an the media server and the end user device. For example, the
interactive media session using, for example, the techniques media server may be a voice mail server, the application
mentioned above. Typically, an interactive media session server may be a network access server and the end user device
(such as a real-time protocol (RTP) session) is established, a may be a computing platform running an Internet telephony
single transaction is conducted and the interactive media ses- 35 application. Of course, other possibilities exist. After the
sion is torn down, or closed. Each Successive media transac        interactive media session is established, a first media trans
tion includes renegotiating, for example, and RTP session,         action (e.g. an interactive media transaction) is conducted
even though the user may perceive the sequence as a single         between the media server and the end user device via the
session (e.g., a single call to the user's bank), such as is       application server using the media session. After the first
described further below. The RTP standard is described in 40 media transaction is complete, a second message is received
Internet Engineering Task Force document RFC 1889, which        by the application server from the media server to indicate
is known to those working in this area and is hereby incorpo    that the first media transaction is complete.
rated herein by reference.                                         The application server then transmits a third message from
   Using current approaches to accomplish a sequence of         the application server to the media server to initiate a second
different media transactions, an end user contacts a media 45 media transaction using the media session. The second media
server, which may be, for example, a Voice mail sever, a transaction is conducted and, after the second transaction is
banking transaction server, or an airline reservation sever, complete, a fourth message is received by the application
where these servers typically comprise a general purpose, or server from the media server to indicate the second transac
special purpose computing platform. In a typical communi tion is complete. These transactions may, as indicated above,
cations network the user may contact the media server via an 50 be executed to retrieve Voice mail messages, conduct banking
application server. In this context, an application server may transactions, or make airline reservations, among numerous
act as network access server (e.g., a gateway) for connecting other possibilities.
an end user device with the media server. Such situations are      In another embodimentofa method for controlling a media
described in further detail hereinafter.                        session, a first session-initiation protocol (SIP) INVITE
   In the context of the user contacting a media server to 55 message is sent from an end user device to a media server
conduct banking transactions, the following sequence may (such as via an application server). A first acknowledgement
take place using current techniques. A message is sent to the sequence is then executed to establish a real-time protocol
media sever by an end-user device, the media server then (RTP) session between the end user device and the media
negotiates communications parameters for the media session server. After the RTP session is established, a first media
with an application server and/or the end user device. Once 60 transaction is conducted between the media server and the
the media session is established, the media server may then, end user device via the application server using the RTP
for example, transmit an audio stream to the user, prompting session. The application server then receives a first SIP
the user to enter an account number and a personal identifi      NOTIFY message from the media server to indicate that the
cation number. The user may then enter this information and first media transaction is complete.
the media server may communicate the user's account bal- 65 The application server then transmits a second INVITE
ance information. After this transaction is complete, the message to the media server to initiate a second media trans
media session is closed.                                        action using the RTP session. The second media transaction is
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then conducted between the media server and the end user           information, the application server 115 may act as network
device via the application server using the RTP session. The       access server for the bank's VPN (e.g. the packet network
media server then transmits a second NOTIFY message to the         130) to connect bank customers with the media server 130 via
application server to indicate that the second media transac       the VPN in order to conduct interactive banking transactions.
tion is complete. Of course, additional media transactions            As an alternative, a user may conduct such media transac
may be conducted. When no further media transactions are           tions (e.g. retrieve Voicemail, conduct banking transactions,
desired, the application server transmits a first SIP BYE          etc.) using end user devices 135, 140 and 145, for example.
message to the media server and a second BYE message to the The end user devices 135 and 140, for the network 100, take
end user device. These BYE messages result in the media the form of landline telephones, while the end user device 145
session being closed.                                         10
   Such approaches for controlling communications network takes the form of a wireless telephone. In this respect, the end
based media sessions address, at least in part, the foregoing user devices 135-145 communicate with the application
described disadvantages of current approaches. In this server 125 via a transport network 150, such as a public
respect, maintaining an interactive media session open for use switched telephone network (PSTN) (for the end user devices
by Successive, different media transactions provides a consis 15 135 and 140) or a mobile switching center (MSC) (for the end
tent quality of service to a user for Successive media transac user device 145). The devices are, of course, exemplary and
tions. It is also reduces the effects of clipping and skipping other devices may used, such as personal data assistants
that are associated with opening a new interactive media (PDAs) that include modems or, alternatively the end user
session for each different media transaction.                    device 110 may communicate with the application server 115
                                                                 via the transport network 150 through either a landline
       BRIEF DESCRIPTION OF THE DRAWINGS                         modem (using a PSTN) or a wireless modem (using an MSC).
                                                                 Those skilled in the art will appreciate that the network 100 is
   The following detailed description makes reference to the exemplary, that numerous configurations and alternatives for
appended drawings, in which:                                     Such a network exist, and that the particular configuration
   FIG. 1 is a block diagram illustrating a network arrange   25 used is not important. As such, the particular configuration
ment, which may be used to implement embodiments of invention.   shown in FIG. 1 is, of course, not limiting to the scope of the
methods in accordance with the invention;
   FIG. 2 is a flowchart illustrating an embodiment of a Exemplary Method of Conducting Media Transactions
method according to the invention;
   FIG. 3 is a diagram illustrating various session-initiation 30 200Referring  now to FIG. 2, a flow chart illustrating a method
protocol (SIP) commands that may be employed by embodi method 200 shown multiple
                                                                       for conducting
                                                                                      in FIG. 2
                                                                                               media transactions is shown. The
                                                                                                is described generally, indepen
ments of methods in accordance with the invention; and            dent of any particular protocols or standards. A more specific
   FIGS. 4A and 4B show a flowchart illustrating another method for conducting multiple media transactions (e.g.
embodiment of a method in accordance with the invention
                                                               35 where the media session is a real-time protocol (RTP) session
that employs the SIP commands shown in FIG. 3.                    controlled by session initiation protocol (SIP) messages) will
       DETAILED DESCRIPTION OF PREFERRED
                                                                  be discussed with reference to FIGS. 3 and 4. As was previ
                                                                  ously noted, the method 200 may be implemented using the
         EMBODIMENTS OF THE INVENTION                             network 100 shown in FIG. 1, though the invention is not so
                                                               40 limited. In this respect, the method 200 will be discussed
Exemplary Network for Conducting Media Transactions               (without limitation) with reference to FIG. 1, as well as FIG.
  FIG. 1 illustrates a communications network 100, which           2.
may be used to implement embodiments of methods for con            At block 205, the method 200 comprises receiving a first
ducting multiple, different media transactions in accordance     message from an end user device (Such as end user devices
with the invention. The network 100 includes end user 45 105, 110, 135, 140 and 145) at an application server, such as
devices 105 and 110, which are computing platforms imple the application server 115. The message received indicates
menting, for example, Internet telephony applications (and that the end user device desires to initiate (e.g. is requesting)
voice over Internet Protocol (VoIP) functions), or other com opening an interactive media session. As was previously dis
munication applications, such as messaging applications. The cussed, the application server 115 may be a network access
end user devices 105 and 110 may take the form of a personal 50 server, or may be any other server that may redirect end-users
computer, a laptop computer, a personal data assistant (PDA), to an appropriate media server. In this regard, at block 210, the
or any other Suitable computing platform. The end user application server 115 then forwards the first message to a
devices are coupled with an application server 115 via a media server, such as the media server 130. As previously
packet switched network 120. The packet network 120 may described, the first message may be communicated to the
be, for example, the Internet. The application server 115 may 55 application server 115 via the packet switched network 120,
take the form of a network access server, which may direct the transport network 150, or any other appropriate commu
end user devices 105 and 110 to communicate with an appro nication network. Similarly, the first message may be for
priate media server, such as media server 125.                   warded to the media server 125 via the packet switched net
   The application server 115 is coupled with the media server work 130, or via any appropriate communication network.
125 via a packet switched network 130. It will be appreciated 60 The first message communicated to the media server at
that the packet switched networks 120 and 130 may comprise blocks 205 and 210 of the method 200 typically includes one
the same network (Such as the Internet), or may be separate or more media session parameters for establishing an inter
networks. For example, while the packet network 120 may be active media session. Such media session parameters may
the Internet, the packet network 130 may comprise a, local include a data session type (e.g. data, audio, video/audio), a
area network or a virtual private network (VPN). In this 65 list of codecs available on the end user device, a list of Sup
regard, for the situation where the media server 130 is a media ported communication protocols, among other possible
server operated by a bank and contains customer account parameters. These media session parameters may be included
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in the first message by the end user device, or may be supplied     establishing another interactive media session to accomplish
by the application server, depending on the particular              each Subsequent transaction. For Such approaches, in addition
embodiment.                                                         to the resources employed to renegotiate for each interactive
   When the first message is received at the media server 125, media session, these approaches also have the disadvantages,
an acknowledgement sequence is then executed at block 215 as were described above, associated with clipping and skip
to negotiate communications parameters and establish an ping of the media streams involved in Such transactions.
interactive media session between the end user device and the          For the method 200, such disadvantages may be avoided. In
media server. Such an acknowledgement sequence may this regard, rather than tearing down (closing) the interactive
include, transmitting a first acknowledgement message from media session, the interactive media session is held open after
the media server to the application server and then forwarding 10 the first media transaction is complete. Thus, a Subsequent
that first acknowledgement message from the application media transaction is accomplished in the following fashion.
server to the end user device. The first acknowledgement               At block 230, a message is sent from the application server
message, in similar fashion to the first message sent to the to the media server to initiate a second media transaction
media server, may include a list of available codecs on the using the still open media session. This message may include
media server, a list of Supported communication protocols, 15 any communications parameters that the application server
and a selection of preferred parameters based on a compari desires to change, such a selecting an improved codec, for
Son of the parameters sent in the first message to the available example. The method 200 is not limited in this regard and
resources of the media server. Of course, there are numerous        other parameters may be changed or, alternatively, no param
other possible parameters that may be sent in the first eters may be changed. A second acknowledgement sequence
acknowledgement message.                                            may then be conducted between the media server at block
   A second acknowledgement message is then sent from the 235. It will be appreciated that the second acknowledgement
end user device to the application server. Alternatively, the sequence, as compared with the first acknowledgement
application server may create the second acknowledgement sequence, is Substantially abbreviated. In this regard, as the
message. For the first case, the second acknowledgement media session is already open, the only negotiation that would
message is then forwarded from the application server to the 25 occur is with respect to any parameters that are changed, as
media server (and merely sent for the alternative case). In this was just noted.
embodiment, the second message includes either an indica               After the second acknowledgement sequence is completed
tion of acceptance of the selected media session parameters at block 235, a second media transaction may then be con
included in the first acknowledgement message or, alterna ducted at block 240. For the banking transaction example, the
tively includes a set of media session parameters that the end 30 second media transaction may include sending an audio
user device desires to use (e.g. force the use of) for the stream from the media server to the end user device to prompt
interactive media session. After the first acknowledgement the user to select an account (e.g. checking or savings) for
sequence is completed, the interactive media session between which information is desired. The user's selection is then sent
the end user device and the media server is then open.              from the end user device to the media server (e.g. as touch
   With the interactive media session open, a first media trans 35 tone or a DTMF tone). The media server 125then transmits an
action is then conducted between the media server and the end       audio stream containing the relevant account information to
user device at block 220. This first media transaction is con       the end user device.
ducted via the application server 115 for the network 100              After the second media transaction is complete, the media
shown in FIG.1. As was previously indicated, such a media server 125 may send another message to the application
transaction may be employed to allow a user to conduct 40 server 115 to indicate that the second media transaction is
banking transactions, among other possibilities. In the bank complete at block 245. If further media transactions are
ing transaction context, such media transactions may include desired, the interactive media session will continue to be held
transmitting a first media stream from the media server to the open and those further transactions may be conducted in a
end user, such as an audio stream to prompt user to enter similar fashion as just described.
identifying information (e.g. a social security number or an 45 When the application server 115 determines that no further
account number). For the network 100, this first media stream interactive media sessions are required, at block 250 the
is sent from the media server 125 to the end user device via the    application server 115 transmits messages to both the media
application server 115.                                             server 125 and the end user device, these messages indicating
   The first media transaction may then include transmitting a that no further media transactions will be conducted using the
second media stream from the end user device to the media 50 current interactive media session. The application server 115
server 125 via the application server 115. This second media may make this determination in a number of ways. For
stream, for the bank transaction example may be a sequence example, the end user device may indicate that no further
of dual-tone-multi-frequency (DTMF) tones corresponding transactions             are desired based on user input, or the interactive
to the user's identifying information, in response to the first media session may time out (e.g. there is no activity over the
media stream.                                                    55
                                                                    interactive media session for a predetermined period of time).
   After the media server receives the second media stream, at      Of course, the application server 115 may make the determi
block 225, the media server 125 sends a message to the nation to close the interactive media session in various other
application server 115 to indicate that the first media trans ways, and the invention is not limited to these examples. In
action is complete (e.g. the identifying information has been response to such messages from the application server 115, at
requested and received). At the conclusion of this first media 60 block 255, the interactive media session is closed (e.g. via
transaction, as was noted above, current approaches then tear acknowledgement from the end user device and the media
down (close) the interactive media session. However, from server) and the resources employed to maintain the interac
the user's viewpoint, such a banking session would typically tive media session are freed up.
not be complete, as merely providing an account number is
usually not the object of Such a transaction sequence, and 65 SIP Commands for Managing Interactive Media Sessions
additional media transactions are typically desired. Thus, as          Referring now to FIG. 3, a diagram illustrating various
was described above, current approaches would then require session-initiation protocol (SIP) messages that may be
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 employed to implement an exemplary method of the inven transmitting a first SIP INVITE message from an end user
 tion is shown. SIP is a standard protocol known to those of device to an application server to initiate opening an RTP
 skill in this area that is typically used to set up and close (tear interactive media session. The first INVITE message is for
 down) data sessions, such as interactive media sessions. It is warded from the application server to a media server at block
 noted, that for purposes of this disclosure the terms "SIP 410. As was described with reference to FIG. 3, the INVITE
 command' and “SIP message' are used interchangeably and message contains communications parameters that may be
 the use of one term is not limiting with respect to the other.        used to establish an interactive media session.
    As shown in FIG.3, a SIPINVITE message 310 includes                   The media server then sends a SIP 200 message to the
 an INVITE message designator 311. The INVITE message application server at block 415 to acknowledge the INVITE
 310 further includes a media session type designator 313. The 10 message. The SIP 200 message is then forwarded to the end
 media session type may, for example, indicate that the inter user device at block 420. The SIP 200 message may include
 active media session to be opened will be a real-time protocol communication parameters, as were previously described
 (RTP) session. The INVITE message 310 also includes codec with reference to the SIP 200 message 320 shown in FIG. 3.
 information 315 (e.g. codecs available on an end user device) At block 425 of the method 400, the end user device sends an
 and an IP address 317, which may be the IP address of the end 15 ACK message to the application server, which is forwarded to
 user device in certain embodiments. The INVITE message the media server at block 430. The ACK message acknowl
 310 also includes parameters changes 319, which indicates edges receipt of the 200 message and may also include
 parameters that are to be changed for follow on media trans “forced' communications parameters from the end user
 actions (not a first media transaction) conducted over an device or, alternatively from the application server. The SIP
 interactive media session, as has been previously discussed. It 200 message and the ACK message are part of an acknowl
 will be appreciated that information other than the informa edgement sequence, which after executing, the interactive
 tion shown in FIG. 3 may be included with the INVITE media session is open. For this particular embodiment, the
 message 310, or some of the information shown in FIG.3 may interactive media session is an RTP session
 be excluded from the INVITE message 310. It will also be                 Once the RTP session is open, a first media transaction is
 appreciated that for each of the commands shown in FIG. 3, 25 conducted at block 435 using the RTP session. The first media
 those commands may include more or less information than is transaction may be, for example, a media transaction for
 discussed herein.                                                     conducting a banking transaction, for retrieving Voicemail
    A SIP 200 message 320 is also shown in FIG. 3. As is messages, or for making airline reservations, as has been
 known, the SIP 200 message is used as a general acknowl previously described. Of course, the media transactions are
 edgement message. For purposes of this disclosure, the 200 30 not limited to these exemplary activities, and numerous other
 message 320 includes a SIP 200 message designator 321 and possibilities exist.
 communication parameter selection information 323, such as               Once the first media transaction is complete, at block 440,
 may be communicated by a media server in response to a the media server sends a SIP NOTIFY message to the appli
 message that requests an interactive media session be opened, cation server to indicate that the first media transaction is
 as has been previously described.                                  35 complete. As was previously noted, the NOTIFY message
    A SIP ACK message 330 is also shown in FIG. 3. The may include one or more results corresponding to the media
 ACK message 330 is typically used as a handshake acknowl transaction or may contain information obtained during the
 edgement message for establishing communication sessions, media transaction. The application server acknowledges
 such as RTP sessions. In this respect, the ACK message 330 receipt of the NOTIFY message by sending a SIP 200 mes
 includes an ACK message designator 331. The ACK message 40 sage to the media server at block 445.
 331 also includes information regarding forced communica                 AS was discussed with respect to interactive media session
 tion parameters 333, such as may be defined by an end user of the method 200 shown in FIG. 2, the RTP session will be
 device, as was previously described.                                  held open for Subsequent media transactions. In this respect,
    FIG. 3 further depicts a SIP NOTIFY message 340, that the application server transmits a second INVITE message to
 may be used to indicate the completion of a media transac 45 the media server to initiate a second media transaction at
 tion, as has been discussed above. In this respect, the block 450. The second INVITE message, as was previously
 NOTIFY message 340 includes a NOTIFY message designa noted, may contain communications parameters that are to be
 tor 341. The NOTIFY message 340 further includes media changed for the second media transaction. The media server
 transaction results 343. The transaction results 343 may indi 50 acknowledges the INVITE message at block 455 by sending
 cate whether a media transaction was completed Successfully, a SIP 200 message to the application server. This SIP 200
 or may pass information from the media transaction to, for message may also contain information related to changed
 example, an application server.                                       communication parameters. At block 460, the application
    FIG.3 also illustrates a SIP BYE message 350. The BYE acknowledges server sends an ACK message to the media server, which
 message 351 is used to close (tear down) data sessions, such 55                       receipt of the SIP 200 message and may also
 as interactive media sessions implemented using an RTP ses finalize            changed communication parameters. The second
                                                                       media transaction is then conducted via the RTP session at
 sion. In this respect, the BYE message 351 includes a BYE block             465 of the method 400.
 message designator 351. As was previously discussed, it will
 be appreciated that information may added and/or removed to              After the second media transaction is complete, a second
 the SIP messages/commands shown in FIG. 3 in accordance 60 NOTIFY               message is sent from the media server to the appli
 with published SIP standards, and the SIP messages/com cation server at block 470 to indicate that the second media
 mands described herein are illustrative and not limiting.             transaction is complete. The application server then sends a
                                                                       SIP 200 message to the media server at block 475 to acknowl
 Alternative Method for Conducting Media Transactions                  edge receipt of the NOTIFY message.
    Referring now to FIGS. 4A and 4B, a flowchart illustrating            When no further media transactions are to be performed
 a method 400 for conducting multiple media transactions 65 over the RTP session, the application server transmits a first
 using an RTP session and the SIP commands illustrated in SIP BYE message to the media server at block 480 and the
 FIG. 3 is shown. The method 400, at block 405, includes               media server acknowledges this BYE message by sending a
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                                                                                                    10
 SIP 200 message to the application server at block 485. The            3. The method of claim 1, further comprising executing an
 application server also sends a second BYE message to the acknowledgement sequence to establish the media session in
 end user device at block 490, which the end user device              response to the first message.
 acknowledges by sending a SIP 200 message to the applica               4. The method of claim3, wherein executing the acknowl
 tion server at block 495. The RTP session is closed as a result      edgement sequence comprises negotiating one or more com
 of the operations performed at blocks 48.0-495.                      munications parameters for the media session.
                                                                        5. The method of claim3, wherein executing the acknowl
                         CONCLUSION                                   edgement sequence comprises:
                                                                        receiving a first acknowledgement message from the media
    Persons skilled in the art will appreciate that variations 10          server at the application server;
 from the illustrated embodiments can be made without depar             forwarding the first acknowledgement message from the
 ture from the spirit and scope of the invention. This true spirit         application server to the end user device;
 and scope will be found by reference to the appended claims.           receiving a second acknowledgement message from the
                                                                           end user device at the application server; and
    What is claimed is:                                            15   forwarding the second acknowledgement message from
    1. A method for controlling a media session having at least            the application server to the media server.
 two transactions comprising:                                           6. The method of claim 5, wherein the first acknowledge
    receiving a first message from an end user device at an ment message is
       application server to initiate a media session;                  a session-initiation protocol (SIP) 200 message; and
    forwarding the first message from the application server to         the second acknowledgement message is a SIPACK mes
      a media server,                                                   Sage.
   establishing the media session between the end user device       7. The method of claim 3, wherein the acknowledgement
      and the media server,                                       sequence is executed between the media server and the end
   initiating a first media transaction between the media user device via the application server.
      server and the end user device via the application server 25 8. The method of claim 1, further comprising executing an
      using the media session;                                    acknowledgement sequence to initiate the second media
   conducting the first media transaction between the media transaction in response to the third message.
      server and the end user device via the application server     9. The method of claim 8, wherein the acknowledgement
      using the media session, the first media transaction being sequence is executed between the media server and the appli
      conducted by transmitting a first media stream from the 30 cation server.
      media server to the end user device via the application       10. The method of claim 1, wherein the media session is a
      server and transmitting a second media stream from the real-time protocol (RTP) media session.
      end user device to the media server via the application       11. The method of claim 1, wherein the first, second, third
      server in response to the first media stream;               and fourth messages are session-initiation protocol (SIP)
   completing the first media transaction between the media 35 messages.
      server and the end user device via the application server     12. The method of claim 11, wherein:
      using the media session;                                      the first message and the third message are SIP INVITE
   receiving a second message from the media server at the             messages; and
      application server, the second message indicating that 40 the second message and the fourth message are SIP
      the first media transaction is complete;                         NOTIFY messages.
                                                                    13.
   transmitting a third message from the application server to INVITE   The method of claim 12, wherein at least one of the
      the media server to initiate a second media transaction               messages includes one or more communications
      between the media server and the end user device via the    parameters for the media session.
                                                                    14. The method of claim 12, wherein at least one of the
      application server using the same media session used for 45 NOTIFY
      the first media transaction;                                          messages includes results from its respective media
                                                                   transaction.
   conducting the second media transaction between the                15. The method of claim 1, wherein the end user device is
      media server and the end user device via the application a computing        device implementing Internet telephony func
      server using the same media session used for the first tions, the computing device being coupled with the applica
      media transaction, the second media transaction being 50 tion server via a packet Switched network.
      conducted by transmitting a third media stream from the         16. The method of claim 15, wherein the end user device is
      media server to the end user device via the application a telecommunications         device, the telecommunications device
      server and transmitting a fourth media stream from the being coupled with the           application server via a transport
      end user device to the media server via the application network.
      server in response to the third media stream;              55    17. The method of claim 16, wherein the transport network
   completing the second media transaction between the is one of a public switched telephone network and a mobile
      media server and the end user device via the application Switching center.
      server using the same media session used for the first          18. A method for conducting plural media transactions in a
      media transaction; and                                        single media session comprising:
   receiving a fourth message from the media server at the 60 transmitting a first session-initiation protocol (SIP)
      application server, the fourth message indicating that the           INVITE message from an end user device to an appli
      second media transaction is complete.                              cation server,
   2. The method of claim 1, further comprising:                      forwarding the first INVITE message from the application
   transmitting a fifth message from the application server to           server to a media server,
      the media server and a sixth message from the applica 65 executing a first acknowledgement sequence to establish a
      tion server to the end user device, wherein the fifth and          real-time protocol (RTP) session between the end user
      sixth messages result in the media session being closed.           device and the media server;
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                                                     US 7,490,155 B1
                               11                                                                  12
   initiating a first media transaction between the media             21. An   application  server for managing multiple commu
      server and the end user device via the application server nications network based media transactions in a single media
      using the RTP session;                                        session comprising:
   conducting the first media transaction between the media           a computing platform having Software instructions stored
      server and the end user device via the application server 5        therein, wherein the instructions, when executed, pro
      using the RTP session, the first media transaction being           vide for:
      conducted by transmitting a first media stream from the            receiving a first message from an end user device to
      media server to the end user device via the application               initiate a media session;
      server and transmitting a second media stream from the             forwarding the first message to a media server,
      end user device to the media server via the application 10         establishing the media session between the end user
      server in response to the first media stream;                         device and the media server;
   completing the first media transaction between the media              initiating a first media transaction between the media
      server and the end user device via the application server             server and the end user device via the application
      using the RTP session;                                                server using the media session;
   receiving a first SIP NOTIFY message from the media           15      conducting    the first media transaction between the
      server at the application server, the first NOTIFY mes                media server and the end user device using the media
      Sage indicating that the first media transaction is com               session, the first media transaction being conducted
      plete;                                                                by transmitting a first media stream from the media
   transmitting a second INVITE message from the applica                    server to the end user device via the application server
      tion server to the media server to initiate a second media            and  transmitting a second media stream from the end
                                                                            user device to the media server via the application
      transaction using the same RTP session used for the first             server in response to the first media stream;
      media transaction;                                                 completing the first media transaction between the
   conducting the second media transaction between the                      media server and the end user device via the applica
      media server and the end user device via the application 25           tion server using the media session;
      server using the RTP session, the second media transac             receiving a second message from the media server, the
      tion being conducted by transmitting a third media                    second message indicating that the first media trans
      stream from the media server to the end user device via               action is complete;
      the application server and transmitting a fourth media             transmitting a third message to the media server to ini
     stream from the end user device to the media server via 30             tiate a second media transaction between the media
     the application server in response to the third media                  server and the end user device via the application
     Stream,                                                                server using the same media session used for the first
   completing the second media transaction between the                      media transaction;
     media server and the end user device via the application             conducting the second media transaction between the
     server using the same RTP session used for the first 35                media server and the end user device using the same
     media transaction;                                                     media session used for the first media transaction, the
   transmitting a second NOTIFY message from the media                      second media transaction being conducted by trans
      server to the application server, the SECOND notify                   mitting a third media stream from the media server to
      message indicating that the second media transaction is               the end user device via the application server and
      complete; and                                           40            transmitting a fourth media stream from the end user
   transmitting a first SIP BYE message from the applica                    device to the media server via the application server in
     tion server to the media server and a second BYE mes                   response to the third media stream;
     Sage from the application server to the end user device,             completing the second media transaction between the
     wherein the first and second BYE messages result in the                media server and the end user device via the applica
     media session being closed.                              45            tion server using the same media session used for the
   19. The method of claim 18, wherein the RTP session is                   first media transaction; and
 established based on communications parameters communi                   receiving a fourth message from the media server, the
 cated between the end user device and the media server as part              fourth message indicating that the second media
 of the first INVITE message and the first acknowledgement 50               transaction is complete.
 Sequence.                                                             22. The application server of claim 21, wherein the instruc
    20. The method of claim 18, further comprising executing        tions further provide for:
 a second acknowledgement sequence in response to the sec              transmitting a fifth message to the media server and a sixth
 ond INVITE message, the second acknowledgement                           message to the end user device, wherein the fifth and
 sequence being used to modify one or more communications                 sixth messages result in the media session being closed.
 parameters of the RTP session.                                                             k    k   k   k   k
